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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CALEB BARNETT, et al.,
      Plaintiffs,
              vs.
                                                          Case No. 3:23-cv-209-SPM
 KWAME RAOUL, et al.,
                                                          ** designated Lead Case
      Defendants.

 DANE HARREL, et al.,
      Plaintiffs,
              vs.
                                                          Case No. 3:23-cv-141-SPM
 KWAME RAOUL, et al.,
      Defendants.

 JEREMY W. LANGLEY, et al.,
      Plaintiffs,
              vs.                                         Case No. 3:23-cv-192-SPM
 BRENDAN KELLY, et al.,
      Defendants.

 FEDERAL FIREARMS
 LICENSEES OF ILLINOIS, et al.,
      Plaintiffs,
                                                          Case No. 3:23-cv-215-SPM
              vs.
 JAY ROBERT “JB” PRITZKER, et al.,
      Defendants.


               MOTION TO EXTEND DEADLINE FOR EXPERT REPORTS

       Defendants Illinois Attorney General Kwame Raoul, Governor JB Pritzker, and State

Police Director Brendan F. Kelly, by and through their attorney, Kwame Raoul, move pursuant to

Federal Rule of Civil Procedure 6(b)(1)(A) for a suspension of the May 10, 2024 deadline to

provide written expert reports until after the close of fact discovery, and state as follows:

       State Defendants’ Prior Requests for Fact Discovery to Inform Expert Reports

       1.      On February 2, 2024, the State Defendants filed a proposed case schedule for this

action after the parties were unable to agree on a joint proposal. ECF 153. The State Defendants

proposed the parties exchange initial disclosures 14 days later, followed by two weeks to issue
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written discovery, 30 days to respond to written discovery, two weeks to confer regarding

discovery deficiencies, two weeks to file motions to compel, two months to complete fact

depositions, and a month to disclose expert reports pursuant to Rule 26(a)(2). Id. at 4. This

expedited case schedule was much shorter than provided by Local Rule 16.1(a) (and much faster

than the State Defendants preferred), but it responded to the Court’s direction to the parties on

January 12, 2024 to return with an expedited proposal. Id. at 4-5.

       2.      The Court held a status hearing that day (February 2) at which the State Defendants

reiterated the need for fact discovery. ECF 155. The Court did not set any deadlines or order the

parties to begin discovery. The Court stated it would schedule another conference later that month.

       3.      On February 23, without any motion or briefing from the parties, the Court issued

a 16-page memorandum “to clarify the path to move forward in this litigation.” ECF 166. The

memorandum provided the Court’s observations about the applicable law, burdens of proof, and

anticipated findings of fact. Id. The order did not require discovery to begin or set discovery

deadlines; rather, the Court ordered the parties to meet and confer again regarding a discovery

schedule in advance of another scheduling conference to be held the following week. Id. at 13.

       4.      On February 28, the Court held an in-person, multiple-hour, off-the-record

conference. At this conference, the State Defendants reiterated their request that fact discovery

begin, that they be afforded the time designated in the Federal Rules of Civil Procedure to complete

discovery, and that fact discovery conclude prior to expert discovery. The Court issued an order

setting a 14-day deadline for initial disclosures and written discovery requests to be served,

followed by a deadline 21 days later (rather than 30) to respond to discovery requests. ECF 169.

The order was silent regarding fact depositions, when fact discovery would close, and expert




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reports. Id. The Court ordered the parties to include its email address when exchanging disclosures,

requests, and responses. ECF 169, 171.

       5.      On April 11, the Court held another off-the-record conference. ECF 179. The

Plaintiffs asked, despite not having given any prior notice to the State Defendants of their intention

to do so, that the Court immediately set a 30-day deadline to exchange expert reports. The State

Defendants again reiterated their preference for fact discovery to conclude before expert reports.

As of the morning of the conference, one set of plaintiffs (Langley) had not provided any written

responses or documents in response to the State Defendants’ timely discovery requests; one set of

plaintiffs (FFL) had not verified any of its interrogatory responses or produced any documents;

and all Plaintiffs’ written responses were incomplete and their assurances regarding forthcoming

document productions after the Court’s April 3 deadline had prevented the parties from meeting

to confer about deficiencies in the responses. Given that Plaintiffs were in the initial stage of

responding to discovery requests, no depositions had been noticed or taken. Despite the State

Defendants’ request for more time, the Court issued an order setting a 30-day (May 10) deadline

for exchanging expert reports that comply with Rule 26(a)(2)(B).

            Current Request to Extend the May 10 Deadline Until After Fact Discovery

       6.      Since the Court’s April 11 order, the State Defendants have been working

expeditiously with experts to prepare reports.

       7.      At this time, the State Defendants are confident they will be able to disclose at least

5 reports on May 10; they believe they will be able to disclose an additional 2-5 reports; and they

do not believe they will be able to provide 1 report due to an expert’s availability. But for all

experts, the State Defendants renew their request for fact discovery to proceed first (and to close)

before being required to disclose expert reports.



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       8.       To meet the May 10 deadline, the State Defendants had to ask experts to draft and

complete their reports with the incomplete information available from Plaintiffs in April. As

explained above, Plaintiffs’ written responses and document productions were incomplete 30 days

before the May 10 deadline. And, despite the State Defendants filing timely discovery requests on

March 13 and following up promptly with Plaintiffs regarding deficiencies in their written

responses and the delayed document productions in April, as of today some Plaintiffs still have

not fully responded to written discovery requests or produced responsive documents, and no

depositions have taken place.1

       9.       Without knowing when or how Plaintiffs will supplement their responses and

document productions, or what information their witnesses will provide at depositions, the State

Defendants cannot know which of their experts would want to review information provided in

Plaintiffs’ future disclosures before completing their reports.

       10.      It would significantly increase efficiency and reduce the costs of this litigation for

the deadline for the exchange of expert reports to be at least 30 days after fact discovery closes.

            Alternative Request for 30-Day Extension for Report from Dr. Schreiber

       11.       In the alternative, State Defendants request a 30-day extension of time to provide

a report from one of their witnesses: Dr. Martin A. Schreiber. Dr. Schreiber provided written

testimony for the State Defendants to respond to Plaintiffs’ motions for preliminary injunction,

and his testimony is relevant to the nature and lethality of the arms Plaintiffs seek to manufacture,

import, sell, purchase, and possess.



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 For example, the State Defendants are currently seeking to depose specific Barnett and FFL
plaintiffs and witnesses. The State Defendants requested these witnesses’ availability during the
parties’ meet-and-confer conferences on April 25. To identify the need for additional
depositions, the State Defendants are waiting for Plaintiffs to disclose the identity of witnesses
they intend to call at trial.
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       12.     On April 23, counsel for the State Defendants emailed Dr. Schreiber to

communicate regarding deadlines and his report. Counsel received an automatic reply that stated:

“Dr. Schreiber is on an urgent leave for the next few weeks.” This message did not align with dates

that Dr. Schreiber had previously shared with counsel when he provided dates during which he

would be available this spring, and so counsel immediately reached out to his scheduler for more

information. Counsel did not receive a response until a week later: On April 30, his scheduler

wrote: “we do not know how long he’ll be out, and I’m not able to provide any additional

information as that is the extent of my knowledge.”

       13.     The State Defendants are continuing to try to contact Dr. Schreiber but at the time

of this filing do not know whether he can be reached by May 10. Even if counsel resumes contact

with him before that date, we do not know whether he will be able to provide a report by May 10

given the lack of information counsel has regarding the nature of his urgent leave.

                                            Conclusion

       14.     The State Defendants respectfully request that the May 10 deadline for all expert

reports be struck. At the upcoming May 16 conference, the State Defendants propose the Court set

deadlines for: Plaintiffs to supplement their responses to the written discovery State Defendants

served on March 13; Plaintiffs to certify that their document production is complete; and fact

depositions to conclude (at least 45 days following the later of the two preceding deadlines).

       15.     In the alternative, the State Defendants request a 30-day extension of the May 10

deadline (i.e., to June 10) for their disclosure of an expert report from Dr. Martin A. Schreiber.



Date: May 3, 2024                                         Respectfully submitted,
                                                          /s/ Kathryn Hunt Muse
                                                          Kathryn Hunt Muse, No. 6302614
                                                          Office of the Attorney General

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                                           J.B. Pritzker, Attorney General Kwame
                                           Raoul, and ISP Director Brendan Kelly




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                                CERTIFICATE OF SERVICE


        I certify that on May 3, 2024, I caused a copy of the foregoing to be electronically filed
with the Clerk of the Court using the CM/ECF system, which will send notification to all counsel
of record.


                                             /s/ Kathryn Hunt Muse
                                             Kathryn Hunt Muse




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